                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DANIEL K. AGYEPONG,                                )
                                                   )
                      Petitioner, pro se,          )      MEMORANDUM OPINION
                                                   )      AND RECOMMENDATION
               v.                                  )
                                                   )
UNITED STATES OF AMERICA,                          )             1:10CV621
                                                   )             1:07CR178-2
                      Respondent.                  )


      Petitioner Daniel K. Agyepong, a federal prisoner, has filed a motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (docket no. 56).1

Petitioner was indicted on three counts of credit card fraud in violation of 18 U.S.C.

§ 1029(a)(1) and (c)(1) and two counts of aggravated identity theft in violation of 18

U.S.C. § 1028A(a)(1). He pled guilty to one count of credit card fraud and one count

of aggravated identity theft (docket nos. 15, 16). Petitioner was initially sentenced

to 15-months imprisonment on the fraud count and a consecutive 24-months

imprisonment on the identity theft conviction (docket no. 26). Following a partially

successful appeal, however, he was resentenced to 12-months imprisonment on the

fraud count and a consecutive 24-months imprisonment on the identity theft count

(docket no. 43). A second appeal was unsuccessful (docket nos. 53, 54, 57). He

then filed his motion under Section 2255. Respondent has filed a response (docket




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          This and all further cites to the record are to the criminal case.




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no. 62), Petitioner has filed a reply (docket no. 70), and Petitioner’s motion is now

before the court for a decision.

                               PETITIONER’S CLAIM

         Petitioner raises only a single claim for relief in his motion. He claims

ineffective assistance of counsel because his attorney did not advise him that he

would be deported from the United States based on his convictions. He states that

he would have gone to trial if he had known this.

                                    DISCUSSION

      In order to prove ineffective assistance of counsel, a petitioner must establish,

first, that his attorney's performance fell below a reasonable standard for defense

attorneys and, second, that he was prejudiced by this performance. See Strickland

v. Washington, 466 U.S. 668 (1984). Petitioner is not entitled to a hearing based

upon unsupported, conclusory allegations. See Nickerson v. Lee, 971 F.2d 1125,

1136 (4th Cir. 1992) (in order to obtain an evidentiary hearing a habeas petitioner

must come forward with some evidence that the claim might have merit), abrog’n on

other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999).              A

petitioner bears the burden of affirmatively showing deficient performance. See

Spencer v. Murray, 18 F.3d 229, 233 (4th Cir. 1994). To show prejudice following a

guilty plea, a petitioner must establish that there is a reasonable probability that but

for counsel’s allegedly deficient conduct, he would not have pled guilty but would

have gone to trial. Hill v. Lockhart, 474 U.S. 52 (1985). The court must determine

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whether “a decision to reject the plea bargain would have been rational under the

circumstances.” Padilla v. Kentucky, 130 S. Ct. 1473, 1485 (2010) (citing Roe v.

Flores-Ortega, 528 U.S. 470, 480, 486 (2000)). This determination is an objective

one which is “dependent on the likely outcome of a trial had the defendant not

pleaded guilty.” Meyer v. Branker, 506 F.3d 358, 369 (4th Cir. 2007).

      Here, Petitioner’s only allegation is that his attorney did not, as required by

Padilla, supra, advise him prior to his guilty plea that he would be deported as a

result of his convictions. Petitioner reports that he was a permanent legal resident

and that the government is now in the process of stripping him of that status and

deporting him. He claims that he would have gone to trial if he had been aware he

would be deported.

      The government’s response is two-fold. First, it contends that Petitioner’s

attorney did advise him that he would likely be deported due to his convictions. In

support of this, it points to the Presentence Report (PSR), which states that

Petitioner consulted an immigration attorney (PSR ¶ 50) and to an affidavit supplied

by Petitioner’s attorney in which he states that he did advise Petitioner that he would

likely be deported. He discussed this matter with Petitioner and his family (docket no.

62, attach. 1). Respondent also notes that Petitioner’s immigration status was

discussed at his initial sentencing and that he was well aware that he would likely be

deported (docket no. 34 at 45-48).




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      The difficulty for the government on its first point is that neither the PSR nor

Petitioner’s former attorney’s affidavit specifies whether any consultation on

immigration matters occurred before or after Petitioner entered his guilty plea. The

transcript from Petitioner’s plea hearing also does not show that the matter was

discussed at the hearing (docket no. 33). Although it was certainly discussed at

Petitioner’s first sentencing hearing, it again is not clear when Petitioner first learned

of his immigration difficulties. At best it can perhaps be inferred from his sentencing

hearing that he was aware of the problem at the time of his plea because he did not

complain or seek to withdraw his plea at that time despite having heard the

discussion of his likely deportation. In the end, given Petitioner’s current assertions

that he did not learn of his likely deportation until after his plea was entered, it would

appear that an evidentiary hearing would be necessary for the court to resolve this

point. For now, however, the court will simply assume for the sake of argument that

Petitioner was not aware of the immigration consequences of his plea at the time it

was entered and will proceed to evaluate the prejudice prong of his ineffective

assistance of counsel claim.

      In the government’s second argument, it contends that, even if the court were

to conclude that Petitioner’s attorney did not properly advise him regarding his

immigration status prior to the entry of his guilty plea, Petitioner still cannot win

because he cannot show prejudice. As noted above, to evaluate prejudice in these

circumstances, the court must determine whether a rational defendant in Petitioner’s

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position would have rejected the plea bargain and proceeded to trial if he been

aware of the likelihood of deportation. The inquiry does not turn on what decision

Petitioner himself would have made, but is instead an objective evaluation based on

the likely outcome of a trial. Myers, supra.

       The factual basis entered at the time of Petitioner’s guilty plea stated that on

September 9, 2004, he entered B. J.’s Warehouse Club in Concord, North Carolina

and purchased $2,171.41 in merchandise using a credit card number stolen from a

victim identified as “E.S.” and a re-encoded credit card. He and a co-defendant,

Ahdi G. Alshare, were approached by Concord Police as they left the store. When

they were unable to produce a legitimate credit card for the transaction, they were

arrested. Petitioner had eight re-encoded credit cards on his person, including the

one that had just been used to make the purchase at B.J.’s. Petitioner also had two

false identifications bearing his picture, but another person’s name. After his arrest,

Petitioner admitted that he used a device given to him by Alshare to “skim” credit

card account numbers while he worked as a bartender. He then gave the numbers

to Alshare. Alshare re-encoded credit cards using the stolen numbers. (docket no.

15.)

       At Petitioner’s initial sentencing, an issue arose concerning the amount of loss

for which he should be held responsible. Both parties presented evidence on this

point. United States Secret Service Agent James Shively, Jr. testified first on behalf

of the government. He became involved in the case after a stolen credit card was

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used to make a purchase of $3,209.98 at the Bose Outlet in Concord, North

Carolina. The persons who used the card were described as a bald, obese man

weighing 300 to 325 pounds and standing about six foot three inches and a black

male standing about five foot seven inches to five foot nine inches, weighing 150 to

160 pounds and having an African accent. The larger man fit the description of

Petitioner’s co-defendant, and the card used in the transaction bore the name of

Ahdi Alshare, but it had a stolen number encrypted on it (docket no. 34 at 5-6).

Petitioner is described in his PSR as being five feet, six inches tall and weighing 160

pounds (PSR ¶ 51).

      That same credit card was later used to make two large purchases at two

different Costco stores. The purchases were made using a membership account

registered to Insutashi Pawivan. When Petitioner was arrested in Concord, he

possessed a driver’s license in the name of Insutashi Pawivan which bore

Petitioner’s picture (docket no. 34 at 7-8). Agent Shively also confirmed that

Petitioner was arrested on that occasion carrying the eight re-encypted credit cards

containing stolen numbers and another driver’s license with his picture and John

Mensahaw’s name (id. at 9). One of the re-encrypted cards was in Mensahaw’s

name (id. at 21).

      After Petitioner’s arrest, he was interviewed by Agent Shively. He confirmed

that he met Alshare in a store in Charlotte, North Carolina. Alshare approached him

about making some extra money. Alshare learned that Petitioner worked as a

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bartender or waiter and gave him a skimmer to steal credit card numbers (id. at 14).

A search of Petitioner’s vehicle revealed a skimming device and fraudulently

purchased merchandise located exactly where Petitioner said they would be. (id. at

16). The agent also learned that Petitioner had apparently applied for a Costco

membership in the name of Mark Abu. The Costco application in Abu’s name

showed the same driver’s license number as Petitioner’s license in the name of

Pawivan (id. at 17). Later, on May 10, 2007, Petitioner was arrested in connection

with the federal charges. He had another skimmer in his pants pocket at that time

(id.).

         Petitioner also testified at his first sentencing. He stated that he skimmed

numbers as the agent testified so that Alshare could resell them (id. at 23-24). Later

Alshare asked him to do him a “favor” by getting fake memberships at various stores

like B.J’s and Costco so that Alshare could evade membership quantity limits in

buying items for his store. Alshare provided names and Petitioner used them to

procure fake identifications in the names of Mensahaw, Pawivan, and Abu (id. at 27).

Petitioner acknowledged that he later accompanied Alshare while Alshare made

purchases with what turned out to be fraudulent credit cards; this included the

purchase at B.J.’s. Nevertheless, he claimed that did not know that Alshare was

using re-encrypted cards or that there were even devices that would re-encrypt

cards (id. at 27-28, 32). He also stated that, on the same day of his arrest in

Concord, Alshare gave him an envelope containing the credit cards and told him he

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could use them to make purchases for his family. Alshare told him to use it at places

where he was not asked for identification and that if he was asked, he should contact

Alshare to come and make the purchase. Petitioner stated that he did not look in the

envelope, but thought that it contained cards with Alshare’s name on them and that

they were his cards (id. at 28-30). As for the skimmer taken from his pocket during

his 2007 arrest, he claimed that Alshare had also given a skimmer to his cousin.

Petitioner had taken it back from him and intended to give it to Alshare. He had it

in his car, but he was switching cars at the time and put it in his pocket intending to

give it to Alshare after work that day; however, he was arrested by the Secret

Service before he could do so (id. at 37-38).

      Not surprisingly, the judge at sentencing did not find Petitioner’s story to be

credible. Not only did he find against Petitioner regarding the amount of loss

attributable to him, he also found that Petitioner was not entitled to credit for

acceptance of responsibility (id. at 43-44). Petitioner had previously admitted to a

probation officer that he had made the purchase at B.J.’s in 2004 (id. at 41).

      Petitioner could not have expected that matters would have turned out

differently with a jury following a trial. His denials of full knowledge of Alshare’s

scheme are patently incredible. It is not believable that he possessed the envelope

without knowing its contents, that he thought it contained Alshare’s cards, that he

had only been given the envelope on the very same day he was arrested, or that he

just happened to possess false identifications in his pocket that matched a fraudulent

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card that had just been used to make the purchase at B.J.’s and another fraudulent

card in the envelope. His tarradiddle also ignores the fact that the cashier had

identified Petitioner, who looked absolutely nothing like his co-defendant, as the

person making the purchase. It is further not credible that, two and a half years

later, Petitioner just happened to have a skimmer in his pocket at the time of his

second arrest even though he had supposedly left Alshare’s scheme long before.

His explanations for those events are nearly laughable. It is clear that, while Alshare

may have been the leader and organizer who initiated Petitioner into the scheme,

Petitioner was fully aware of the entire extent of the credit card fraud and was

participating in the purchases. A rational defendant in Petitioner’s position and one

seeking to avoid deportation would certainly have desired a trial and acquittal.

Nevertheless, given the evidence against him and the complete lack of a remotely

credible innocent explanation, there was no way to bring that desire to fruition.

Whether he pled guilty or went to trial, the reality was that Petitioner would be

convicted and probably deported. Petitioner had no real choice but to plead guilty

in an attempt to reduce his prison time and then deal with his immigration issues as

best he could.    No rational defendant would have done otherwise.            Even if

Petitioner’s attorney did not advise him that he faced deportation upon conviction,

Petitioner suffered no prejudice. His claim should be denied.




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      IT IS THEREFORE RECOMMENDED that Petitioner’s motion to vacate, set

aside or correct sentence (docket no. 56) be DENIED and that Judgment be entered

dismissing this action.



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                                    WALLACE W. DIXON
                                    United States Magistrate Judge

Durham, N.C.
February 11, 2011




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